    EXHIBIT 1
FILED UNDER SEAL
353 N. CLARK STREET CHICAGO, IL 60654-3456




                                                                     Timothy J. Barron
August 28, 2020                                                      Tel +1 312 923 8309
                                                                     Fax +1 312 923 8409
                                                                     TBarron@jenner.com


VIA EMAIL

Khue V. Hoang, Esq.
Reichman Jorgensen LLP
750 Third Avenue
Suite 2400
New York, NY 10017
khoang@reichmanjorgensen.com

Re:       Kove IO, Inc. v. Amazon Web Services

Dear Ms. Hoang:

We have reviewed your response to AWS’s second motion to compel amendment of Kove’s
final infringement contentions. Your response brief includes more specific contentions
describing Kove’s infringement theories and more specific citations to source code allegedly
evidencing those theories than do Kove’s second amended final infringement contentions. We
thank you for providing these more specific contentions and citations.

We are prepared to withdraw our motion to compel if Kove stipulates that on the three categories
of claim limitations identified in AWS’s motion to compel, Kove’s infringement contentions are
deemed to be amended to be limited to the specific contentions in your response brief.

For example, without limitation, Kove contends on page 8 of its brief:



                                                                                   As support, on
page 7 of its brief, Kove highlights in green citations to portions of the source code
corresponding to the function

We are willing to withdraw our motion to compel if Kove stipulates that this is its theory of
infringement. To clarify, Kove will not argue, for instance, that the alleged “redirect message”
is anything other than
                                                     is in some place in the source code other than
the green highlighted portion identified in Kove’s response brief.

For a second example, again without limitation, Kove contends on page 10 of its brief that the
                                             It further claims:



CHICAGO    LONDON    LOS ANGELES     NEW YORK   W ASHINGTON, DC      WWW.JENNER.COM
Khue V. Hoang, Esq.
August 28, 2020
Page 2




We are willing to withdraw our motion to compel if Kove stipulates that this is its theory of
infringement. Kove will not argue, for instance, that the alleged “hash table” is anything other
than

                                                                              occurs outside of the
source code identified in Kove’s response brief.

If Kove is willing to stipulate that Kove’s infringement contentions on these three claim
limitations are deemed to be limited to the specific contentions and source code citations in its
response brief, AWS will withdraw its motion to compel.

Very truly yours,




Timothy J. Barron

TJB:rlu
